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a5)

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN _ SOUTHERN DIVISION

UNITED STATES OF AMERICA,

   

i L E CASE(NO. 15~20382

v.
FEB -7 2023
PAUL NICOLETTI CLERK'S OFFICE
DETROIT
/

 

EMERGENCY MOTION FOR COMPASSIONATE RELEASE/REDUCTION IN SENTENCE
PURSUANT TO 18 U.S.C. §3582(c) (1) (A)

Now comes the Defendant, Paul Nicoletti, Pro Se, and moves this Honorable

 

Court to grant his Emergency Motion for Compassionate Release/Reduction in
Sentence pursuant to 18 U.S.C. §3582(c)(1)(A) for time served or in the alternative
to add the remainder of sentence to supervised release term and/or impose
a period of home confinement due to the COVID-19 crisis and serious health
concerns:

I. BACKGROUND

On January 30, 2020, Defendant was sentenced to 70 months of incarceration,
with 2 years of supervised release to follow, for Count 1-Bank Fraud Conspiracy;
Counts 2+-4~Bank Fraud Aiding & Abetting. As of the future date when this
motion may be argued, Defendant as of March 2023, Defendant has served 18
months of his sentence while incarcerated at FCI Morgantown, West Virginia.
Defendant is eligible for home confinement in January of 2024 based upon First
Step Credits. See Bureau of Prisons, Inmate Locator Utility, https: //www.bop.gov/
inmateloc.

Defendant argues that he is particularly vulnerable and has an increased
risk of severe complications from the virus based upon: 1) Hemochromatosis;
2) High Blood Pressure; 3) Obesity; 4) Hyperlipidemia; 5) Cervical Disc Disorder.
Defendant suggests that he should be releasedto home confinement based on

these conditions.
  

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II. BASIS OF MOTION

First, Defendant request is seeking compassionate release from this

Honorable Court to extend humanitarian relief to his family and him in the ongoing
detrimental lethal and deadly Coronavirus Crisis. In a April 21, 2020 memorandum
for inmate family and friends, Bureau of Prison ("BOP") Director M.D. Caravejal
acknowledge the anxiety the pandemic is causing families and friends, exacerbated
by the suspension of social visit and related measures. The Defendant's request is
also based on the recent directive of the United States Attorney General wherein he
urges the Bureau of Prison to screen high risk inmates with chronic care medical
issues that put them at higher fatality rate. He also stated that those inmates
deemed suitable to be given priority and release on compassionate release or home
confinement. This acknowledges the danger of COVID-19 in a prison facility by the
Department of Justice ("DOJ").

Secondly, Defendants request is seeking compassionate release for “other reasons"
in pursuant of the (2018) First Step Act allowing defendant's to motion court for
extraordinary and compelling circumstances that are medical or non-medical.

III. STANDARD OR REVIEW

Eighteen U.S.C. §3582(c)(1)(A) allows a court to modify a term of imprisonment |
where "extraordinary and compelling reasons warrant [modification]." Motion under
that section have been called "motions for compassionate release." United States
Ve McMann, No. 13-cr-52, 2020 WL 1901089, at *1 (E.D. Ky. Apr. 17, 2020). "The
compassionate release provisions were ... intended to be a ‘safety valve' to reduce
a sentence in the ‘unusual case in which the defendant's circumstances are so
changed, such as by terminal illness, that it would be inequitable to continue

the confinement of the prisoner.'" United States v. Ebbers, 432 F. Supp. 3d 421,

 

430 (S.D.N.Y. 2020) (quoting S. Rep. 98-225, at 121 (1983)).
In the First Step Act, Congress amended 18 U.S.C. §3582(c)(1)(A) to allow a

prisoner to file motion for compassionate release on his own behalf.
  
 
 

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The commentary to the Policy Statement describes four categories of
"extraordinary and compelling reason" that may justify compassionate release under
§3582(c)(1)(A): (A) the medical condition of the defendant; (B) the age of the
defendant; (C) family circumstances; and (D) other reasons. See U.S.S.G. §1B1.13,
cmt. n.1(A)-(D). The 'medical condition of the defendant" category allows compass-
ionate release if, inter alia, the defendant is "suffering from a serious physical
or medical condition ... that substantially diminishes the ability of the defendant
to provide self-care within the environment of a correctional facility and from
which he or she is not expected to recover." Id. cmt. n.1(A). The "family circum-
stance" category allows compassionate release if: (1) the caregiver of the
defendant's minor child dies or is incapacitated, or (2) the defendant's spouse or
registered partner is incapacitated and the defendant is the only available
caregiver. Id. cmt. n.1(C). The "other reasons" category allows compassionate
release if, "[a]s determine by the Director of Bureau of Prison, there exists in
the defendant's case an extraordinary and compelling reason other than, or in
combination with, the reasons described in subdivisions (A) through (c)."

Id. cmt. n.1(D).

Section 3582(c)(1)(A) requires a defendant to exhaust his administrative
remedies with the BOP before asking judicial relief. See United States v. Alan,
960 F.3d 831, 832-34 (6th Cir. 2020). A defendant may exhaust his administrative
remedies in one of two ways: (1) by exhausting his "administrative right to appeal
a failure of the [BOP] to bring a motion on the defendant's behalf," or (2) on "the
lapse of 30 days from the receipt of such a request by the Warden of the defendant
bears the burden of showing he has exhausted his administrative remedies and is
entitled to compassionate release. See Ebbers, 432 F. Supp. 3d at 426-27 (citing
United States v. Butler, 970 F.2d 1017, 1026 (2nd Cir. 1992)). Section 3582(c) (1)
(A)'s exhaustion requirement is a mandatory claim-processing rule that is subject

to waiver and forfeiture. See Alam, 960 F.3d at 834 (citing United States v. Cotton,

 
    
 

 

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535 U.S. 625, 630 (2002)).

1. ADMINISTRATIVE EXHAUSTION

Before moving for compassionate release under 18 U.S.C. §3582(c)(1) (A), a
defendant must ask the BOP to file a motion for compassionate release on his
behalf, and then "fully exhaust[] all administrative rights to appeal a failure
of the [BOP] to bring a motion on the defendant's behalf" or wait until "30 days
from the receipt of such a request by the warden of the defendant's facility."

18 U.S.C. §3582(c)(1) (A). "The earlier of these two dates controls; as soon as
one of these requirement is met, the exhaustion requirement is satisfied."
United States v. Scparta, No. 18-cr-578, 2020 WL 1910481, at *4 (S.D.N.Y. Apr.
20, 2020); see also Alam, 960 F.3d at 834 ("Prisoners who seek compassionate
release have the option to take their claim to federal court within 30 days,
no matter the appeals available to them.").

Defendant assert's that he has exhausted his administrative remedies.

On 1/31/22 he filed for Compassionate Release/Reduction in Sentence with the
Warden Bay}éss at FCI Morgantown facility. The Warden denied his request

Thirty days have passed since
Defendant's initial request for compassionate release before he has filed this
Motion to be granted.

Defendant has demonstrated that he has met the requirement of administrative
exhaustion and his Motion for Compassionate Release is ripe for review. The Court
has the discretion to review his motion and order relief.

2. EXTRAORDINARY AND COMPELLING REASONS

In reviewing a motion for compassionate release under §3582(c)(1)(A), a
court must address whether “extraordinary and compelling reasons warrant [] a
reduction" and whether "reduction is consistent with [the Policy Statement]."

18 U.S.C. §3582(c)(1) (A); U.S.S.G. §1B1.13(3). The court must also consider the

§3553(a) factors, "to the extent that they are applicable." 18 U.S.C. §3582(c)(1)(A),
   
   

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and must determine whether the defendant is "a danger to the safety of any other
person or to the community, as provided in 18 U.S.C. §3142(g)." U.S.S.G. §1B1.13(2).
District courts have received many compassionate release motion during the
COVID-19 crisis. Court's approaches to those motions have varied. In assessing
whether and when defendants have presented extraordinary and compelling reasons
for release due to COVID-19, courts have considered whether a defendant has
demonstrated "both a particularized susceptibility to the disease and a
particularized risk of contracting the disease at his prison facility." United
States v. Feiling, No. 3:19-er-112, 2020 WL 1821457, at *7 (E.D. Va. Apr. 10, 2020)
(collecting cases); compare Miller v. United States, No. 16-cr-20222, 2020 WL
1814084, at *3-4 (E.D. Mich., Apr. 9, 2020) (granting compassionate release where
defendant was 69 years old, had multiple serious medical conditions, and was in
facility with a substantial number of COVID-19 cases). United States v. Muniz,
09-cr-199, 2020 WL 1540325, at *2 (finding extraordinary and compelling circumstances
because "[d]efendant has been diagnosed with serious medical conditions that,
according to reports from the Center[s] for Disease Control, make him particularly
vulnerable to severe illness from COVID-19... includ[ing] inter alia, end stage

renal disease, diabetes, and arterial hypertension."); United States v. Campagna,

 

No. 16 Cr. 78-01, 2020 WL 1489829, at *3 (S.D.N.Y. Mar. 27, 2020) (approving
compassionate release for defendant where his “compromised immune system, taken in
concert with the COVID-19 public health crisis, constitutes an extraordinary and
compelling reason to modify [d]efendant's sentence on the grounds that he is
suffering from a serious medical condition that substantially diminishes his
ability to provide self-care").

Given those approaches, courts evaluating motions for compassionate release
have considered factors like the defendant's age; the defendant's medical conditions;
whether the defendant's sentence remains to be served. See, e.g., United States v.

Zukerman, No. 16-cr-194, 2020 WL 1659880, at *4-6 (S.D.N.Y. Apr. 3, 2020) (granting
   
  
 

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compassionate release where defendant suffered from diabetes, hypertension, and
obesity, placing him at "higher risk of severe illness from COVID-19"); United
States v. Atwi, No. 18-cr-20607, 2020 WL 1910152, at *1, 4-6 (E.D. Mich., Apr. 20,
2020) (granting compassionate release where defendant had latent tuberculosis and
was in a facility where inmates and staff members ... have been diagnosed with
([COVID-19]).

Some courts that have granted motions for compassionate release due to
COVID-19 have reasoned that defendants with serious underlying health conditions
who face a significant risk of contracting COVID-19 satisfy the Policy Statement's
“medical condition of the defendant" category for compassionate release because
those defendants are unable to "provide self-care" effectively and protect
themselves from the virus while in prison. See, e.g., United States v. Amarrah,
No. 17-cr-20464, 2020 WL 2220008, at *4-6 (E.D. Mich., May 7, 2020) (granting
compassionate release where defendant had diabetes, heart disease, and asthma and
would be unable to "provide self-care within the environment of a correctional
facility" were he to contract COVID-19. Other courts have reasoned that defendants
who demonstrate that they are at significant risk both of contracting COVID-19
and of experiencing a severe reaction to it meet the requirements of the Policy
Statement's “other reason" category for compassionate release. See, e.g., United
States v. Rodriguez, No. 2:03-cr-00271, 2020 WL 1627331, at *1, 7-12 (E.D. Pa. Apr.
1, 2020) (granting compassionate release for “other reason" where defendant had
diabetes, hypertension, and liver abnormalities, was in a facility that had
insufficient testing and sanitation).

The COVID-19 crisis, when combined with heightened risks to a defendant both
of contracting COVID~19 and of reacting severely to it, may constitute an extra-

ordinary and compelling reason justifying compassionate release. The "extraordinary

and compelling" standard remains a high bar, however, even under currect circumstances

but risk of deaths tilts the scale in favor of those at high risk. .

 
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FCI Morgantown failed to get into CDC compliance in a timely manner neglecting
preventative measures for inmate health. As of 1/14/23, the BOP currently
has 29 facilities Operating at level 1 (minimal modifications); 49 facilities
Operating at level 2 (moderate modifications); and 19 facilities operating
at level 3 (intense modifications). https: //www.bop.gov/coronavirus/
As of 1/14/23, the BOP had 167 federal inmates and 254 BOP staff who
have tested positive for COVID-19. There have been 312 inmate deaths and
7 BOP staff member deaths from COVID-19. In Monongalia County, the county
in which FCI Morgantown sits, COVID hospitalizations have tripled since January

of 2023, with the new COVID variant being XBB.1.5. DHHR Reports from West

 

Virginia show 1079 current active COVID-19 cases statewide with 17 new deaths
for a total of 7,778 deaths attributed to COVID-19.

The district courts and government can no longer use or rely on cases
such as United States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020), for the
theory that Defendant's request for release on home confinement is based upon
nothing more than the mere possibility that COVID-19 will spread to his facility,
a fear that is insufficient to justify release,

Early into the novel pandemic, one could perhaps conclude the same measures
of determination to not grant release to a defendant. But that method of
measuring risk to the virus in those cases have been undisputabely reduced
to not enough caution measured. The data from the novel coronavirus alone
with the aftermath has revealed that Coronavirus anywhere is Coronavirus everywhere.
No inch of the earth is exempt from the virus. In the early stages of assessing
where a defendant faces a particularized risk of contracting the disease,
courts were adopting the (hopeful) recommendations of the United States Attorneys
across the country arguing that a defendant is not at risk in a facility with
no confirmed cases. Even then this was especially troublesome knowing that

the virus was an invisible enemy and highly contagious.

 
   

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United States v. Ray, No. 18~cr~177 (August 17, 2020), Judge Leonie Brinkema
stated. "courts need not wait until COVID-19 spreads to a facility, or until
there is a COVID-19 outbreak at a facility, before granting relief." As Judge
Brinkema stated, "there is a very real risk that COVID-19 will spread to and
through FCI Morgantown as evidenced by the spread of COVID-19 throughout the
BOP, and that risk is sufficient."

District courts have considered whether a defendant has demonstrated
"both a particularized susceptibility to the disease and a particularized
risk of contracting the disease at FCI Morgantown." Id.

United States v. Hughes, 2021 U.S. Dist. LEXIS 13243, Case No. 2:13~cr-20142-SHM-12
(6th Cir. January 25, 2021), court ruling that defendant faces a particularized
risk of contracting COVID-19 at FCI Morgantown and also that the facility
has failed to take proper precautions to minimize the risk of a COVID-19 outbreak
among the prison population.

United States v. Agomuoh, No. 16-20349, ECF No. 145 (E.D. Mich., March
21, 2020), recommending that the BOP release the 64 year old defendant with
diabetes and hypertension to home confinement. FCI Morgantown refused Doshi
to home confinement. Doshi refiled to the court and the court granted his
motion for compassionate release.

Segars v. United States, 2020 U.S. Dist. LEXIS 103807, Case No. 16-20222-3
(E.D. Mich., June 15, 2020), the court states "Concern for Segars safety is
not dissuaded by the fact that FCI Morgantown has reported no cases of COVID-19.
The prisons report of zero confirmed cases is more likely a result of a lack

of testing than a lack of the virus presence in the prison."

 
  
 

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(BOP Action Plan/Vaccination)

United States Attorney's across the country have joined the same uniformly
crusade of misleading federal courts into believing that the once in a century pandemic
Coronavirus do not pose the same threat to the BOP inmate's health and life as it does
the entire world. In abusing the public's trust and position of power, the government
touts the BOP Action Plan for infectious viral control as a success tool which exempts
inmate's from danger that the rest of humankind faces. This strategic method by the
government in an effort to downplay and mitigate the warrant for release to provide
self-care ... is a danger to the community from those of whom trust of fairness is
bestowed.

The government touting of the BOP's positive effort outlined in it's COVID-19
Action Plan recognizably, makes the virus less conducive but, however, nevertheless
is not effective from preventing the spread of the highly contagious disease.

For example, late November, 2020 and early December, 2020 FCI Morgantown was
plagued with COVID-19 outbreaks in "Alexandra Unit" and every inmate with confirmed
positive testing did mot have a fever. Proving that the daily temperture testing of
staff members, attorney's, contracting workers and visitors is not effective to prevent
the spread of the virus from asymptomatic individuals.

Masking provided to inmates are not N-95 issued masks, which is the only high
rated mask of protection from the virus. Scientist and experts have issued public
diagrams and information containing the mathematical percentage of protection
received from certain mask wearing. The clothe masks issued to inmates by the BOP
are rated with only 30% protection. However, this 30% protection is only good for
up to three to six minutes in the presence of the virus before infection of exposure
occurs. Prisoners are forced to wear masks in an controlled environment or face

punishment that will lead to certain sanctions and possible denial to CARES Act early
   
  
 

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release or a request for compassionate release. The fact that inmate's are held to
a higher percentage of mask wearing than the general public and yet the spread of
the virus is still 5 times the rate of the general public per capita only reflects

proof that mask wearing without social distancing and proper sanitizing is not

effective,

Social distancing and sanitizing are both impossible measures to achieve in a

communal prison environment. In fact, the only most important preventive measure of

all listed in the BOP Action Response Plan to COVID-19 is social distancing and

sanitizing, however, it is also the only part of the plan that is unobtainable.
Vaccination is a task that not only the general public is having difficulties

of overcoming but the BOP as well. Dispite the record breaking speed of developing

and administering the vaccine through emergency use of Operation Warp Speed. Many

people in prison and the general public have different but all pave concerns over

whether to receive or not receive the vaccine. Under normal circumstances to approve
a safe and well study vaccine with proven data to support, it would take up to (7)-

years to get FDA approval to administer. Regardless of whether or not the vaccine is
taken by inmate or staff, no matter what the most recently data behind the vaccine,

there is not scientific proof that a receiver's health and life will not have a

further consequence to be discovered.

Center for Disease and Control have warned, "that research shows the vaccine
may not be effective on people with immunocompromise conditions. Also the vaccine
may not even immunize against variants and strains of the virus. Epidemiologist and

virologist have discovered that the once 95% Pfizer, 94% Moderna efficacy of vaccine

toward the early Alpha and Beta varients are less effective against the new Delta
variant. Research and studies show that the current vaccine's efficacy against Delta
are reduce to 60% efficacy and estimated to be reduced to only 33% efficacy for those
with immunocompromise conditions. In fact, the country Israel is the most vaccinated

country in the world ahead of the U.S. but yet they are experiencing a great increase

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in hospitalization and deaths due to the Delta variant. Israel Health Offical's
issued a warning stating, "no amount of vaccination can stop the spread of COVID-19."
Israel has vaccinated over 85% of it's population. It is reported that there is also
another dangerous variant of concern called Lambda, which experts are warning may
have the possibility of evading the current vaccines.

Leading epidemiologist and virologist such as Dr. Fauci and the CDC Director
have warned that is it estimated we are two to three mutations away from a variant
that will evade the current vaccines. The less people vaccinated along with more
spread of virus will increase possible mutation of a much strong variant than the
vaccine can offer protection from,

As of August 27, 2021, 58.2% of inmates were vaccinated, up 1.4 points from
last week. Staff Still lags as 53.1%, up only 0.2 points from the week before. The
Food and Drug Administration gave regular approval to the Pfizer vaccine last week,
and the military has already ordered it's personnel to be vaccinated. BOP has not
mandated vaccination among it's employee's.

However, on July 7, 2021-(Dov Lieber, author of Delta/Pfizer Shot Study) research
in Israel states, "During the period that coincided with the Delta outbreak, 1271 of
1528 total new infections were fully vaccinate individuals, as were 23 of 37
hospitalization and 11 of 17 cases of severe illness." See (The Wall Street Journal,
News Paper (July 7, 2021)).

On July 7, 2021-(Julie Wernau, author of Delta) Delta "is some 50% more
transmissible than the Alpha variant that had been the most common strain in the
U.S. since March, and scientists believe Delta is associated with more severe
disease." See (The Wall Street Journal, News Paper (July 7, 2021)).

On July 16, 2021-(Alison Sider, author) states, "The so-called Delta variant,
also known as B.1.B17.2 variant, is more infectious and appears to be somewhat more

effective at evading vaccines." See (The Wall Street Journal, News Paper (July 16,

2021)).
 

  

The judges of this court have written exten
a lifetime pandemic. On May 11, 2022, the Unite

one million deaths, a once unthinkable milestone

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sively about this once in
d States reached more than

- And, the "Biden administration

is preparing for the possibility that 100 million Americans will be infected..."

(Amelia Nirenberg, "A Coming Fall Surge?", N.Y.

Times (May 9, 2022)). https: //www.

ny times .com/2022/05/09/briefing/100-million-coronavirus-covid-us. html. As

the prison system and society in general believe that COVID-19 is now endemic

and much abated, COVID-19 hospitalization and de
BQ.1 and its swarm of subvariants.

The Center for Disease Control and Preventi
with certain conditions are likely to get severe
the comorbidities, the greater the severity. (S

Conditions, CDC" at https://bit.ly/38S4NfY). He

aths are quickly rising with

on (CDC) advises that people
ly ill from COVID-19 and
ee "People with Certain Medical

re, all 5 of Defendant's

medical conditions are on this list, placing him at high risk of death or

from complications. At 63 years old, CDC data s
as Defendant, between the ages of 50 and 64, hav
four time higher than those between the control

are 30 times more likely to die of the virus. (

hows that individuals, such
e a hospitalization rate
group ages 18 and 29, and

See "Risk for COVID-19 Infection,

Hospitalization, and Death", CDC, last updated March 28,2022, https: //www.cdc.gov

/coronavirus/2019-ncov/covid-data/investigations
by-age.html). Defendant is even more vulnerable
imprisoned. See Coreas v. Bounds, TDC-20-0780,
WL 1663133, at *2 (D Md. Apr. 3 2020) ("Prisons,
are especially vulnerable to outbreaks of COVID-
While the majority of vaccinated individual
variant will only experience minor symptoms, "br
still cause severe, possibly life threatening il
suffer from medical conditions that render them
the virus. See United States v. Salemo, No. 11l-

at *6 (S.D.N.Y. September 7, 2021) (noting vacci

 

~discovery/hospitalization-death—
to COVID-19 because he's

451 F.Supp. 3d 407, 2020

jails, and detention centers
19.")

s infected with the Omicron

eakthrough" infections can

Iness in individuals who

particularly vulnerable to

er-65 (JSR), 2021 WL 4060354,

nated defendant with underlying
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medical conditionsremained at high risk for "aegevere case of COVID-19"
if infected); See also United States v. Johnson, No. 98-cr-860-7 ARR),
2021 WL 5755047, at *5 (E.D.N.Y. Dec. 3, 2021) (concluding vaccinated defendant
"coulf face serious illness and even death if infected with COVID-19" due
to multiple underlying medical conditions").
Another study déufultysvaccinated individuals by the CDC found that

-..all persons with severe outcomes" including hospitalization and death
had at least one "risk factor", -age, immunosuppression, or an underlying
comorbidity, including diabetes - and that 77.8% of those who died had four
or more risk factors. Note the Defendant has five of the risk factors.
CDC Director Rochelle Walensky cited this study as evidence that the "overwhelming
number of [recent] deaths" from COVID-19 occur in people with multiple
comorbidities.

These findings are noted by the courts. Johnson, 2021 WL 5755047,
at *4 (noting "[tjhe risk of breakthrough infection is greater among incarcerated
individuals than members of the general public"). "For that reason, some

courts have continued to find the risk of COVID-19 germane to their analysis

of extraordinary and compelling circumstances, even when...the defendant

|
is vaccinated." See id. at *5 (collecting cases). "The court can not agree
that fmovant's] vaccination status considered without context, weighs against

a reduced sentence." See United States,v. Mansourov, 2021 WL 6063235, at
*3 (D. Conn. Dec. 22, 2021). "[a]n incarcerated person's vaccination status
does not serve as a total bar" to finding that extraordinary and compelling

reasons exist. See id. *3. And in United States v. Brunetti, 2022 WL 92753,

at *12 (S.D.N.Y. Jan . 10, 2022) (stating "The court disagrees with the Government's
assertion that Brunetti's vaccination status, considered in isolation, "substantially

weak[ens]" his claim that his medical conditions constitute extraordinary

and compelling reasons warranting release.")

 
  
    

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Less than half of FCI Morgantown staff is vaccinated and the numbers are nearly
the same for the facility inmate population. It is of no doubt that the Delta variant
will mutate into a much stronger variant. Officers who had tested positive are still

allowed to work on the compound without being required to quarantine for the CDC

stipulated timeframe before recovery, in part because BOP employee's are quitting in

droves. That's the question Business Insider asked the third week of August, 2021.

About 3,700 staffers left the BOP from March 2020 to July 3, 2021, according to agency

data. That translates to the equivalent of more than 8.4 employees departing every day

during that period.
The COVID-19 pandemic and augmentation have strained prison workers, which could

cause more of them to quit as staffing conditions continue to erode, union represent-

ative said.

The BOP's number is not without controversy. Joe Gulley, union president at USP
Leavenworth, told Buisness Insider the number of staff who had COVID-19 was at least
20 times higher than officially reported. "The Warden lied because he wanted his bosses
and the public to think he was doing a good job," Gulley said in a statement. "His
only concern was that everyone outside of USP Leavenworth believed he was controlling
COVID and keeping everyone safe so he could get his next promotion." The same is here
at FCI Morgantown and reported at many other BOP facilities by staff and inmates.

The BOP said it tested an average of 24 inmates a day for COVID-19 over the last
10 days til date of around August 15-25, 2021. That's only 63% of the number of COVID
-19 positive inmates the BOP reports. In fact, it is only 10% of the testing the BOP

was doing in a similar period last December. One cannot find what one does not look for!

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Courts have recognized the increased susceptibility to COVID-19, where
the defendant has received both doses of the vaccine, especially when there
has been a shift in the scientific concensus. See e.g. United States v. White,
No. 15-cr-20040-01, 2021 U.S.Dist. LEXIS 47351, at *5 (E.D.Mich. Mar.15, 2021),
And unfortunately, it appears that the proliferation of COVID-19 variants has
begun to usher in such a shift. See e.g. United States v. Wardlow, No. 19-20254,
2021 U.S. Dist. LEXIS 81161, at *8 (E.D.Mich. April 28, 2021) (noting that "it
is as yet not known fully whether the present vaccines provide the same level
of protection as with previous variants" and granting release in spite of
vaccination). Over the last several months, there have been disturbing examples
of people becoming infected with and spreading the so called "Delta" variant,
despite being vaccinated. See Apoorva Mandavilli, C.D.C. Internal Report Calls

Delta Variant as Contagious as Chickenpox, N.Y. Times (July 30, 2021).

The Government will oppose Defendant's motion and argue that the Bureau
of Prisons has taken steps to curtail the spread of COVID-19. This argument
is meritless as stated in Pomante. The court held:

Even if the Court were to accept the argument that

the BOP and FCI Morgantown are taking precautions

to ensure the safety of prisoners, Defendant's risk

of contracting COVID-19 is not speculative. Until

the BOP increases testing capacity, a lack of confirmed
cases has very little bearing on the amount of actual
cases in a federal prison. See Sadie Gurman, More

Than 70% of Inmates Tested in Federal Prison Have
Coronavirus, The Wall Street Journal (Apr. 30, 2020)

 

United States v. Dennis Pomante, 2020 U.S. Dist. LEXIS
85626, at *9, (6th Cir. 2020)

Nicoletti argues that the unusually harsh conditions he has faced during
the entirety of his incarceration and his increased susceptibility to severe
illness from COVID~-19, constitute extraordinary and compelling reasons for

release,

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DEFENDANT'S MEDICAL HISTORY
At the time of Defendant's incarceration in August of 2021, Defendant
was reasonably healthy with few complaints considering his 62 years of age,
He suffered from hypothyroidism, hyperlipidemia, and major depressive disorder
(depression). Defendant's medical condition was stable with regard to cervical
disc disorder caused by a neck fracture before incarceration, as a result
of receiving CT Guided Facet Injections from a Neurosurgeon, twice a year.
On January 12, 2022, Defendant contracted COVID-19, while an inmate at
FCI Morgantown. Defendant was placed in isolation while his flue-like symptoms
ran their course. Subsequently, Defendant began having medical symptoms of
a serious nature which involved severe fatigue, and other serious medical
conditions. It was during that time, when Defendant was diagnosed with Hypertension
and placed on three blood pressure lowering medications. At the same time,
Defendant was diagnosed with a rare blood disorder known as Hemochromatosis.
Eventually, blood treatments were commenced, which tended to have an impact
on excess Ferritin Levels in Defendant's blood. The Defendant was scheduled

for phlebotomies which were to occur every couple of weeks, by visits to the

 

Mon Health Cancer Center. After the blood draws, Defendant felt weak and
his activities were restricted during the time which Defendant's blood chemistry
was returning to normal. Phlebotomies continue to this very date, with blood

draws being less often than early on in the treatment. Defendant still suffers

from osteoarthritis in his neck, knees, and hands.

 
   

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Subsequent to Defendant being diagnosed with COVID-19, Defendant was treated
for extreme fatigue, nausea, and related complications. During said treatment it
was discovered that Defendant had abnormal bloodwork and that the Ferritin Level
was more than ten times higher than what it should be in a normal patient. After
several hematology consultations it was determined that Defendant had a rare blood
disorder known as Primary Hemochromatosis, which is hereditary. Primary hemochroma~
tosis is a blood disorder where too much iron builds up in your body. Sometimes it
is referred to as "iron overload" disease, Normally the intestines absord just the
right amount of iron from the foods you eat. But in hemochromatosis, your body absorbs
too much, and it has no way to get rid of it. So your body stores the excess iron in
your joints and in organs like your liver, heart, and pancreas. This damages them

and if not treated, hemochromatosis can cause your organs to fail and stop functioning.

The primary medical treatment is a Phlebotomy, which involves taking blood and
iron from the body. At first, around one pint of blood is removed once or twice a
week. When iron levels return to near normal, blood drains can be extended to every
2-4 months. There is no known cure for the rare blood disease, as the phlebotomy
is the only available treatment for the disorder. A person with hemochromatosis
has a higher risk of cancer and is more susceptible to the risk of infection.

The 5-year survival rate after diagnosis in untreated patients with the fully
developed disease was found to be 18% and the 10-year survival rate was 6%. The
principal cause of death in such patients related to liver complications, hepatic
failure and portal hypertension (302) and malignant hepatoma (30%), an additional
1/3 died from cardiac failure. It should be noted that phlebotomy therapy does not

result in improvement in arthropathy in diagnosed patients,

 
  

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Symptoms of Hemochromatosis usually begin between the ages of 40 and 60 but
can occur earlier. Arthritis, which occurs in 20-402 of patients, usually begins
after the age of 50 and may be the first clinical feature of hemochromatosis. The
arthropathy is an inflammatory osteoarthritis-like disorder affecting the small
joints of the hands, followed later by larger joints such as knees, ankles, shoulders,
and hips. The second and third metacarpophalangeal joints of both hands are often
the first joints affected; they can provide an important clue to the possibility
of hemochromatosis. Patients experience stiffness and pain. The affected joints
are enlarged and mildly tender. Radiographs show irregular narrowing of the joint
space, subchondral sclerosis, and subchondral cysts. There is juxtaarticular pro-
liferation of bone, with frequent hook like osteophytes. In approximately half
the patients, there is evidence of calcium pyrophosphate deposition disease. Excess
iron may damage the articular cartilage in several ways as well. [Harrison's
Principles of Internal Medicine, 15th Edition, Arthropathy of Hemochromatosis,
Page 2014.]

It is critical to note that Defendant's Medical Records reflect a medical
history of hand surgeries to address the second and third metacarpophalangeal
joints of the right hand. Further, Defendant's medical records also show the
presence of hook like osteophytes as a need for the hand surgery. Defendant's
medical history also reflects knee surgeries on both knees due to inflammatory
arthritis and joint disorders. Defendant's medical history includes a diagnosis
for cervical disc disorder and recent MRI's show mild to severe joint space
narrowing due to arthritis. It is also important to note that with regard to the
cervical disc disorder diagnosis, the BOP has been unable to provide neurosurgery
treatment in the form of CT Guided Facet Injections, similar to those injections
that the Defendant was having performed twice a year prior to incarceration. The
only treatment for the cervical disc disorder has been the prescription of a weak
pain medication known as Meloxican. Defendant continues to suffer constant stabbing

neck pain on a daily basis.

 
  
 
 

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The Sixth Circuit has clarified "how district courts following the
enactment of the First Step Act, should analyze defendant-filed motions seeking
release under §3582(c)(1)(A)." United States v. Hampton, 985 F. 3d 530, 2021 WL

164831, at *1(6th Cir. 2021).

In resolving those motions, district

courts now face two questions: (1)

whether extraordinary and compelling
circumstances merit a sentence reduction;

and (2) whether the applicable §3553(a)

factors warrant such a reduction,

A third consideration, the §1B1.13

policy statement, is no longer a requirement
courts must address in ruling on defendant-filed
motions. id. (citations omitted).

Pursuant to the COVID-19 pandemic, it appears to the court that Defendant's
age and health condition places him in the "highest risk category for complications
and death from the disease if infected." See, e.g. Zuckerman, 2020 U.S. Dist.

! LEXIS 59588, 2020 WL 1659880, at *4; Basank v. Decker, 449 F. Supp. 3d 205,

2020 U.S. Dist. LEXIS 53191, 2020 WL 1481503, at *3(S.D.N.Y. Mar. 26, 2020) ("The
Court takes judicial notice that, for people of advanced age, with underlying
health problems, COVID-19 causes severe medical conditions and has increased
lethality." (citation omitted).United States v. Dennis Pomante, 2020 U.S.Dist.
LEXIS 85626, at *8(6th Cir. 2020).

There can be no dispute that the Defendant's age (63) in and of itself,
makes him more susceptible to complications from COVID-19. Together with the
Defendant's unique and rare medical condition known as Hemochromatosis, high
blood pressure, osteoarthritis, hyperlipidemia, and obesity, the Defendant has
a significantly higher chance of dying from complications from COVID-19. Defendant

argues that the risk category cannot get any higher since there is no known

cure for Hemochromatosis and that the 10-year survival rate is only 6% in untreated

patients.

 
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Courts do not regard the CDC website as the only appropriate source
of scientific information bearing the identification of risk factors or
immunocompromisations. In United States v. Segars, 16-CR-20222, 2020 WL
3172734, at *3 (E.D. Mich. June 15, 2020) (noting that "[t]he rapidly changing
nature of science surrounding this novel virus displaces the CDC as the
sole medical authority on COVID-19 risk factors."); In United States v.
Salvagno, 125 A.F.T.R. 2d (RIA) 2020-2558, 5:02-cr-51 (LEK) (N.D.N.Y. June
22, 2020) (stating "[T]he Court does not confine itself to the cDC website,
because the CDC is not the only reliable sdurce of information about COVID-19...",
Mira Zein, M.D.,M.P.H., who is a Clinical Assistant Professor at Stanford
University School of Medicine explains, "Depression, anxiety, and PTSD have
all been found to directly stimulate production of pro-inflammatory cytokines,
as well as down regulate cellular immunity leading to increased risk of
acute or prolonged infection, and delayed wound healing." She concludes
that weakened immunity due to mental health disorders can put detainees

"at increased risk of contracting and suffering from more severe forms of

 

COVID-19." See Doe v. Barr, 2020 WL 1820667 (N.D. Cal. Apr. 12, 2020) also
explaining that anxiety and depression "can lead to decreased immune response
and increased risk of infections." See id. at *4, See United States v.
Lavy, 2020 WL 3218110, at *5 (D.Kan. Jan 15, 2020) (finding based on scientific
studies that major bipolar disorder and major conditions are not listed
on the CDC's non-exclusive list of contributors to immunocompromisation).
Bureau of Prisons (BOP) medical records confirm that Defendant has
hypertension and that prior to incarceration, Defendant had normal blood
pressure. For hypertension Defendant takes Lisinopril, an ACE inhibitor,
and Hydrochlorothiazide to treat the condition, with blood pressure readings
in the stage 2 hypertension range, with some systolic pressure readings

above 140 mm Hg and some diastolic pressure readings above 95 mm Hg.

 
 

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In fact, as of 1-27-23, based upon higher than usual blood pressure
reading, the dosage of Lisinopril was increased in an attempt to gain control
of the high blood Pressure readings. While it is true that high blood
Pressure is a common ailment, what is uncommon about Defendant's condition
is that Defendant is required to take three prescription medications for
it and still has elevated numbers. A small dose of aspirin was prescribed
to reduce the chances of having a stroke from the high blood pressure.

The severity of Defendant's hypertension is indicative of his increased
immunocompromisation and risk for illness or death. Hypertension is associated
with inflammation, which in turn, is a dysregulation of the body's immune
system. The virus also causes inflammation in the body, which in some

people, rise to dangerous levels. Hypertension as a comorbidity is explained
by dysfunction of the endothelium, which is involved in the regulation

of pro-inflammatory immune response and blood clotting. See Sardu, et

al., Hypertension, Thrombosis, Kidney Failure, and Diabetes: Is COVID-19

an Endothelial Disease: A Comprehensive Evaluation of Clinical and Basic
Evidence, Journal oc Clinical Medicine (May 11, 2020). In Salvagno, No.
5:02-cr-51 (LEK) (collecting cases), the Court reviews in detail the scientific

literature and cases regarding hypertension and COVID-19.

 
   
 

 

 

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(D) "OTHER REASON"

Eighteen U.S.C. §3582(c) (1) (A) allows a court to modify a term of imprisonment
where “extraordinary and compelling reasons warrant [modification]." “Although relief
under the statute is commonly referred to as compassionate release, ‘such relief is
not limited to immediate release, but includes a reduction in sentence."

Motions brought by defendants on their own are not held or limited to the
United States Sentencing Commission examples of “extraordinary and compelling"
examples. Congress amended 18 U.S.C. §3582(c)(1)(A) to allow a prisoner to file a
motion for compassionate release. The First Step Act modified §3582(c)(1)(A) with
the intent of "increasing the use of transparency of compassionate release." Pub. L.
“No. 115-391, 132 Stat. 5194, 5239 (capitalization omitted); see also Ebbers, 432
F. Supp. 3d at 430. .

The First Step Act "does not constrain the Court to decide between immediate
release or no reduction at all, and instead leaves the Court discretion in its
evaluation of the appropriate sentence once it finds "extraordinary and compelling
reasons.'" United States v. Braxton, Cr. No. JKB-09-478, 2020 U.S. Dist. LEXIS
147379, 2020 WL 4748536 (D. Md. Aug. 17, 2020). Thus, the Court's decision need not
be confined either to immediate release or leaving the existing sentence intact.
The statutory text of the First Step Act allows courts to "reduce the term of
imprisonment," upon a finding of “extraordinary and compelling reasons." 18 U.S.C.
§3582(c)(1) (A).

Numerous district courts in both this Circuit and others have found that a
court "need not choose between immediate, unconditional release or no relief at
all" and have, accordingly, granted sentence reductions that did not result in
immediate release. See, e.g., United States v. Johnson, No. RDB-07-0153, ECF No.
183, 2020 U.S. Dist. LEXTS 190921 (D. Md. Oct. 14, 2020) (reduction sentence from
360 months to 300 months); Braxton, 2020 U.S. Dist LEXIS 147379, 2020 WL 4748536,

at *5 (reducing sentence from 246 months to 168 months); United States v. Marks,

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455 F. Supp. 3d 17, 2020 WL 1908911, at *17 (W.D.N.Y. 2020) (reducing sentence from
40 years to 20 years); United States v. Arey, 461 F. Supp. 3d 343, 2020 WL 2464796
(W.D. Va. 2020) (reducing sentence but denying immediate release); United States v.
Day, 474 F. Supp. 34 790, 2020 U.S. Dist. LEXIS 133589 (E.D. Va 2020) (same); see also

United States v. Zullo, 976 F.3d 228, 237 (2nd Cir. 2020) ("It bears remembering that

‘compassionate release is a misnomer. 18 U.S.C. §3582(c)(1)(A) in fact speaks of

sentence reductions. A district court could, for instance, reduce but not eliminate
a defendant's sentence...").

In this section (D) “OTHER REASONS," the defendant will demonstrate that a
reduction in sentence is warranted for the following reasons:

(MOTION FOR A DOWNWARD DEPARTURE UNDER §5K2.0)

Grounds for Departure

For all circumstances described and demonstrated in this motion for compassionate
release pursuant to (D)-"Other Reasons" defendant seeks relief in pursuant of:
§4A1.3 (Departures Based on Inadequacy of Criminal History Category (Policy Statement)).

$441.3 (b) (1) Standard for Downward Departure.- If reliable information indicates
that the defendant's criminal history category substantially over-represents the
seriousness of the defendants criminal history or the likelihood that the defendant
will committ other crimes, a downward departure may be warranted.

In addition, 28 U.S.C. §994(e) requires. the Commission to assure that it's
guidelines and policy statement reflect the general inappropriateness of considering
the defendant's education, vocational skills, employment record, family ties and
responsibilities, and community ties in determining whether a term of imprisonment
should be imposed or the length of a term of imprisonment.", and inserting:

See §5H1.6 (Family Ties and Responsibilities (Policy Statement)); also see U.S.S.G.
§5H1.7 (Role in the Offense (Policy Statement)); also see U.S.S.G. §5H1.8 (Criminal

History (Policy Statement)).

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3. THE RELEVANT §3553(a) SENTENCING FACTORS. WARRANT REDUCING
DEFENDANT'S SENTENCING TO TIME SERVED

Under the compassionate release statute, when a defendant establishes the
existence of extraordinary and compelling circumstances justifying relief, courts
must consider the relevant sentencing factors of 18 U.S.C. §3553(a) to determine
whether a sentencing reduction or modification is warranted and whether the
defendant's release would be a danger to the community. 18 U.S.C. §3582(c) (1) (A) (4).
Section 3553(a)'s primary directive is for sentencing courts to "impose a sentence
sufficient, but not greater than necessary, to comply with. the purpose set forth
in paragraph 2." Section 3553(a), paragraph 2 states that such purpose are:

1. To reflect the seriousness of the offense, to promote respect

for the law, and to provide just punishment for the offense;

2. To afford adequate deterrence to criminal conduct;

3. To protect the public from further crimes of the defendant; and

4. To provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the

most effective manner.
Ibid. In a compassionate release case, which is not a re-sentencing of the defendant,
or a re-evaluation to the defendant's original sentence, the inquiry is whether these
factors outweigh the "extraordinary and compelling reason's warranting compassionate
release, and whether compassionate release would undermine the goals of the original
sentence.

Defendant presented extraordinary and compelling circumstances regarding his
serious health conditions and the current impact of the COVID-19 pandemic combined
with "Other Reasons" to support his request for compassionate release. Continued
incarceration is not necessary to protect the community from the past crimes of
the Defendant given his age, characteristics, and debilitating medical conditions.
The compassionate release statute permits the District Court: to reduce a defendant's
sentence upon consideration of the §3553(a) factors, and upon a finding that there

are extraordinary and compelling reasons that warrant such a reduction. See U.S.C.

§3582(c)(1) (A); U.S.S.G. §1B1.13. The need to avoid unwarranted disparities in

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sentences is also an important relevant factor. See 18 U.S.C. §3553(a).

Sixty Three year old Defendant does not present a threat to the community if he
were to be released. Defendant has a stable residence to return home to, located in
Troy, Michigan. He has a great support system of family and friends to help aide
his welfair until allowed to work. Defendant. has employment ready or will seek employ-
ment through local temporary services once allowed to work. Upon release he will obtain
medical insurance and seek health care form his family Primary HealthCare Provider
and for emergency he will seek care at the local hospital.

As this Honorable Court is aware, criminal conduct tends to diminish with age,
a relationship that is widely referenced at the “age-crime curve." This construct
is supported by the age-crime statistics contained in the Uniform Crime Reports
published annually by the Federal Bureau of Investigation. Prior to this offense,
Defendant had never spent even one day in prison or in jail. - Defendant self-
surrendered as he was trusted to report back and forth from court even after pleaing
guilty with full knowledge that he was going to prison for a very long period of his
life, . . . Defendant post~-incarceration
has been served as a model inmate with impeccable conduct and no infractions of
incident reports. He has completed a substantial amount of positive programming ready
and willing to rehabilitate himself. In the consideration of all the §3553(a) factors
discussed herein, described in the Defendant's final presentence report, and discussed
at the Defendant's original sentencing hearing, a reduction in Defendant's custodial
term should be granted. This instant offense is the longest term of imprisonment
Defendant has ever served, further supporting his request for a reduction of his
sentence under these unique circumstances. Reducing Defendant's sentence would not
diminish the seriousness of his offense nor undercut the deterrent effect of the
sentence upon othe potential offenders. This Court is permitted to consider the
“amount of time" that a defendant has served on a sentence when deciding whether to

grant a sentence reduction as one of the §3553(a) factors. Kincaid, 802 Fed.Appx. at

 
 

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188; see 18 U.S.C. §3553(a)(2)(A).

In addition, Defendant could remain under the supervision of the Court if he
were to be permitted to serve the remainder of his custodial sentence on home
confinement. The Court's supervision could ensure that Defendant remains a law
abiding citizen, while still getting the medical care that he needs.

According to the Centers for Disease Control ("CDC"), adults of any age with
Overweight/Obesity, Smoker (current or former) are at increased risk of severe illness
from COVID-19 See (CDC Coronavirus Disease 2019 (COVID-19) (8/26/2021) available at:
https: //www. cde -gov/coronavirus/2019-ncov/need-precautions/peoples-with-medical-
conditions.html). Individuals 30-64 years of age account for 15.1% of the total death
toll from COVID-19 in the United States.

This Honorable Court is well aware of the current COVID~19 pandemic, with the
United States suffering over 600,000 deaths. The CDC has issued guidance that
_ individuals at higher risk of contracting COVID-19 take immediate preventative
actions, including avoiding crowded areas and staying home as much as possible.

The condition in prisons do not allow for an inmate to take the recommended preventive
actions and create an ideal environment for the transmission of contagious disease,

See (Joseph A. Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious
Disease 45(8):1047-1055, available at https: //doi.org/10.1086/521910.

Because there is no effective treatment should Defendant contract COVID-19
while incarcerated, his health and safety require protection from infection. While
in prison he will not be able to protect himself though social distancing, but will
instead be exposed to "an ideal environment for viral spread."

Not all inmate face the heightened risk of severe illness or death that comes
along with having certain medical conditions and facing an increased risk of
contracting COVID-19 in a prison environment. It is that combination, the prison
environment itself coupled with the totality of Defendant's unique health conditions

that increase his risk and establish extraordinary and compelling reasons,

 
   

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The Sentencing Commission has provided guidance about what constitutes
"extraordinary and compelling" reasons in Section 1B1.13 of the Sentencing
Guidelines. U.S.S.G. §1B1.13. These reasons are classified in four categories:
(1) the defendant's medical condition; (2) the defendant's age; (3) family
circumstances; and (4) additional reasons "other than, or in combination with"
the first three elements. Id. at cmt.n.1(A)-(D). Here, the Defendant is sixty

63 years of age, with a longstanding diagnosis of high cholesteral, together
with high blood pressure and BMI of 30.5%. It is undisputed that the combination
of these factors, all of which can be documented within the Defendant's medical
history, present an extraordinarily high risk of death from the COVID-19 virus.
Even assuming that Defendant's conditions independently do not fit in the CDC's
definition of severity, which is not the case here, "his conditions still
exacerbate each other, placing him in a much more vulnerable position than a
healthy person, if he were to get COVID-19." United States v. Gardner, No.
14-cr-20735-001, 2020 U.S.Dist. LEXIS 129160, 2020 WL 4200979, at *6 (E.D. Mich.
July 22, 2020. In sum, Defendant suffers from a number of medical conditions,
which are identified by the ODC as exacerbating the risk of serious harm if the
Defendant contracts COVID-19. The lack of widespread testing should exasperate
this court's concern about the Defendant's likelihood of contracting COVID-19.
See United States v. Agomuoh, No. 16-20196, 2020 U.S.Dist. LEXIS 86562 (E.D. Mich.

May 18, 2020).

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This once in a century |COVID Pandemic was not foreseen at the time of
defendant's sentencing, resulting into an over-representation of the seriousness
of offense in light of his pre-existing illness related to the virus. Considering
the amount of time remaining] to complete defendant's sentence and the very

dangerous risk the defendant! is subjected to, extreme action is needed to

 

extricate defendant from COVID-19 in a prison environment. The punishment

imposed by the court combined with the extreme living conditions created by

the virus and the BOP action response plan have subjected the defendant to

the loss of privileges and restrictions that are inhumane to endue. The Defendant
has endured such restrictions for nearly two years. Someday, legal scholars

may look back on the COVID era compassionate release as having introduced

more disparity in sentencing than any event in federal criminal law.

A sentencing commission study tallied compassionate releases by district,
released in March 2022, reported that 25.7% of the 7014 compassionate release
motions filed in 2020, were granted. In the Eastern District of Michigan,

34.5% of the compassionate release motions filed in 2020, were granted. From
the State of Michigan, in the federal court, 66 cases out of 81 cases, where
a motion for compassionate release was filed, were based upon COVID-19 as

a basis for granting the motions.

The numbers are jarring, siad one defense attorney. Your geography remains
as one of the most relevant factors in determining the sentence you receive
or the severity of the punishment. In a country that guarantees equal protection
under the law, I think that should raise some constitutional questions. Defendant
has demonstrated that a downward departure is warranted to eliminate sentencing

disparities and the Over-representation of seriousness of the offense.

 
   

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In 1977, the Defendant was awarded the Distinguished Service Award for

outstanding community service by the Mayor of Royal Oak, Michigan, Pecky D.
Lewis. Nicoletti is a family man and has been married since April 15, 1983,
with four successful college graduated children. (PSR 4 35) Perhaps most
important is that Nicoletti had a criminal history score of zero, as this was
his only offense. (PSR 4 29) Nicoletti's father died in 2016 from a stroke and
he has a close relationship with his mother and served as her sole caregiver.
(PSR 134) Nicoletti was a model citizen with no history of substance or alcohol
abuse whatsoever. (PSR 140)

The instant offense did not involve violence and were Nicoletti's first
ever, criminal offense. While on pre-trial release, Nicoletti's conduct was
so good, that the court and the Government allowed Nicoletti to repeatedly
adjourn his BOP Report date, and to travel to various locations in order to
visit family members. He continued to have good behavior in prison, maintaining
perfect conduct. With regard to 18 USC 3553(a) factors for the court to consider,
given Nicoletti's non-existent criminal history and spotless record on pre-trial
release and in prison, Nicoletti suggests that the incarceration he has served
thus far to be sufficient to promote deterrence and would not be minimized by
the court granting him compassionate release. It is important to bear in mind
that the other Co-Defendants were not incarcerated at all and the court should
try to avoid unwarranted sentence disparities in accordance with §3663(a) (4) (A) (6).

This court specifically determined that Nicoletti does not pose a danger
to the community. On June 3, 2020, this court ruled: "The Government could not
possibly believe that Nicoletti poses a danger when it consented to multiple
extensions for Nicoletti to surrender. The court finds Nicoletti does not present
a danger to the safety to persons or the community.’ Case No. 15-20382, 2020 U.S.
Dist. LEXIS 97196. 18 USC § 3142(g)

Accordingly, Defendant has demonstrated that extraordinary and compelling

circumstances warrant compassionate release.

 
   

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Education and employment

While an inmate at FCI Morgantown since August of 2021, Defendant has been a
model inmate. Currently, Defendant holds theonly work assignment that is allowed
to work outside the prison facility on a daily basis. He is employed as the Town
Driver, which is classified as a position of public trust and the assignment must
be approved by the Warden of the facility. As the Town Driver, Defendant is charged
with the responsibility of driving other inmates to/from medical appointments, as well
as transporting other inmates to the bus stop upon release from custody.

In addition to being the Town Driver, Defendant is also the Compound Photographer,
responsible for taking all inmate photos while on the compound. These duties
include taking inmate photos while at the visitation center during weekend visitation
sessions. Defendant is the only Compound Photographer.

Prior to the two above work assignments, Defendant was a paid Welding Instructor
at the Welding Shop. He was responsible for instructing students in the art of
Stick Welding. MIG Welding, and TIG Welding. During the same time, Defendant was
participating in the Welding Apprenticeship Program in the proactive advancement
of the skilled trade. Prior to the Welding Shop, Defendant was assigned to Facilities,
where Defendant worked in the Carpentry Division, charged with fabricating instit-
utional office furniture, shelving units, and other related wooden furniture. At
the same time, Defendant was also assigned to Food Services where he worked as
a Food Server, and as a Cook, where he also completed the Cook Apprenticeship
Program. At the same time Defendant was working in the Food Services Department,
he was working in the Landscape Department as the Clerk of the Department
overseeing a landscaping crew of more than a dozen inmates.

Defendant has gone overboard with rehabilitation and learning new skills
that will facilitate his re-entry into society and greatly assist in successful
completion of supervised probation where he will need to maintain employment

on a continual basis.

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EVIDENCE BASED RECIDIVISM REDUCTION PROGRAMS
While incarcerated, Defendant has suscessfully completed the following
educational programs offered to inmates at FCI Morgantown:
Welding Apprenticeship
Food Services Cook Apprenticeship
National Parenting Program Part I
National Parenting Program Part II
Victim Impact Class
Crochet Class
While incarcerated, Defendant has participated in the Financial Responsibility
Payment Plan (FRP). The, FRP is automatically deducted from Defendant's monthly
wages. Currently, the FRP Payment amount is $50.00 per month and said payments
commenced starting on 10-27-21, and have been made in a timely manner each
and every month, despite the fact that Defendant has to work two work assignments

in order to make enough money to cover the FRP payment, which amounts to nearly

75% of the amount Defendant earns each month.

 
 

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This court and others have granted compassionate release to high-risk
inmates with similar and in some cases greater, time or percentage remaining.
United States v. Delgado, No. 18-cr-17, 2020 WL 2464685 (D.Conn. Apr. 30,
2020) (Obesity and Sleep apnea; FCI Danbury: roughly 7.5 years remaining
on initial 10 year sentence (75%) and same period remaining until projected
release date (752Z)); Williams~Bethea, 2020 WL 2848098 (age 50, hypertension
and obesity; FCI Danbury; 29 months remaining on initial 40 month sentence
(73%) and 23 months until projected release date (68%)); United States
v. Echevarria, 17-cr-44, 2020 WL 2113604 (D.Conn. May 4, 2020) (age 48 and
asthma; FCI Allenwood (no reported cases); 39 months remaining on initial
48 month sentence (81%)).

Like most everyone in or out of prison, Defendant worries about his
health conditions, primarily his hemochromatosis and high blood pressure
as well as the scare of contracting COVID-19 for yet another time, but
unlike those not imprisoned, his high risk and fears are heightened due
to the congregate living conditions and inability for self-care and/or
lack of medical care. Defendant fears infection and what that may bring
knowing that any inmate or staff he comes in contact with could be carrying
the beginning of his death sentence. This court should grant Defendant's
request for a sentence modification in the form of a Compassionate Release.
("By the end of 2020, one in every five persons incarcerated in the United
States had tested positive for COVID-19. At least 275,000 imprisons persons

across the country have been infected; more than 1,700 have died. <A court's

Yefusal to reduce an incarcerated person's sentence could result in death.

United States v. Matthews, 846 F.App'x 362, 363-64 (6th Cir. 2021)").

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Detention during the pandemic has been "more punitive" than before,
essentially doing "extra time" on what would ordinarily be served. During
this time, Defendant has endured restrictions from periodic lockdowns and
movements; closed or restricted visitation with plexiglass partitions;
limited programming; and the omnipresent dangers from the pandemic. Courts
have held that the harsh conditions of pandemic confinement are an extraordinary
and compelling reason warranting a sentence modification. See, e.g., United
States v. Hatcher, No. 18-cr-454, 2021 WL 1535310, at *3 (S.D.N.Y. April
19, 2021); United States v. Romero, No. 15=-cr-455, 2021 WL 1518622, at
*4 (S.D.N.Y. April 16, 2021); United States v. Mcrae, 17~cr-643, 2021 WL
142277, at *5 (S.D.N.Y. Jan. 15, 2021) ("[A] day spent in prison under extreme

lockdown and in well-founded fear of contracting a once-in-a-century deadly

virus exacts a price on a prisoner beyond that imposed by an ordinary day
in prison.").

And finally, Defendant's request for sentence reduction is not as
much as it would seem. His First Step Act projected release date to Home
Confinement is scheduled for January 22, 2024, approximately 11 months
from the date of this submission, which in reality is a modest sentence
reduction based upon the 18 months that Defendant has already been incarcerated.
And, the Defendant's punishment will continue; his freedom will be substantially
restricted during the term of home confinement; he will thereafter be subjected
to two years of supervised probation and he will be monitored by the court
during that time. With respect to sentencing disparities, the court should
be well aware of the fact that co-conspirators were not sentenced to spend

any time in prison, as a result of their plea bargains.

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Defendant has absolutely no history of violence and this court has
previously determined that Defendant is not a threat to society. Defendant
is older and wiser now, at 63 years old, and statistically is unlikely
to recidivate. U.S.S.C., The Effects of Aging on Recidivism Among Federal
Offenders, available at https: //www.ussc.gov/sites/default/files/pdf/research-and-
publications/researchpublications/2017/20171207_Recidivism-Age. pdf. ("[Alge
is...a strong factor influencing the likelihood of committing crime[.]")
His low Pattern score corroborates this conclusion.

Defendant has used the last 18 months of incarceration to rehabilitate
himself for the future. Defendant began his rehabilitation journey at
Food Services as an apprentice cook and line server, progressing to Landscaping
as the Clerk, then at Facilities in the construction department as a carpenter,
then to Welding, as an apprenticeship and as an instructor, teaching other
inmates how to weld. Finally, Defendant was selected as Town Driver where
he drives inmates to medical appointments as far away as Pennsylvania.
Lastly, the Defendant volunteers his services as the only Compound Photographer
that takes photos of inmates and their families at visitation. Defendant
works seven days a week and has little to no free time whatsoever.

Defendant's health problems continue to cause significant suffering
and his inability to receive treatment or sufficient management of his
illnesses from the BOP is concerning. Release would mean that Defendant
could obtain treatment for his uncontrolled arthritis due to Hemochromatosis,

and Defendant could better care for his Hypertension and other medical

conditions.

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See, e.g., United States v. McRae, 2021 U.S. Dist. LEXIS 8777,
at *12 (S.D.N.Y. Jan. 15, 2021) (noting that "a day spent in prison under extreme
lockdown and in well-founded fear of contracting a once-in-a-century deadly
virus, exacts a price on a prisoner beyond that imposed by an ordinary day in
prison"); see also Keri Blakinger, What Happens When More than 300,000 Prisoners
Are Locked Down, Marshall Project (Apr. 15, 2020), ("Experts say the widespread
use of such restrictions is extraordinary, in scale and in length...Studies
show long-term social isolation comes with a higher chance of dying prematurely,
in part because of the physical effects of stress.") Although these extraordinary
punitive conditions might, by themselves, be insufficient to justify compassionate
release, Nicoletti suggests that they support a finding of extraordinary
compelling circumstances when viewed alongside Nicoletti's heightened susceptibility

to severe illness from COVID-19.

Defendant's request for compassionate release is not unreasonable,
the Court should grant him the relief of a sentence reduction given the
totality of the circumstances and the §3553(a) factors argued herein. This
Court should grant Defendant release or at the very least, a reduction

in sentence for "other reason" demonstrated in this motion.

CONCLUSION
For the reasons set forth above, Defendant respectfully requests this
Court to Order him released based on Compassionate Release; or based on
a reduction in sentence as an alternate basis and allow Defendant to be
placed on Home Confinement for the duration of his custodial sentence which
is set to allow Defendant to be placed in Home Confinement in January of

2024,

Respectfully Submitted, ©

Ravn

 

 

 

 
   

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CERTIFICATE OF SERVICE
I hereby certify that on t/at {22 a copy of the foregoing Emergency
Motion For Compassionate Release/Reduction In Sentence Pursuant To-18 U.S.C.
§3582(c)(1)(A) was filed with this Honorable Court and mailed to the United States
Attorney Office via U.S. Postal Mail Service at the institutional facility of FCI

Morgantown to the addresses listed below:

U.S. District Court-For

Theodore Levin United States Courthouse
231 West Lafayette, 5th Floor
Detroit, MI 48226

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Paul Nicoletti ,
Federal Correctional Institution

Morgantown
P.O. Box 1000
Morgantown, WV 26597

By

 

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